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Case 06-10725-gwz

Debtor USA Commercial Mortgage Co.,
Thomas J. Allison 4484 South Pecos Road
Las Vegas,

89121

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RAY QUINNEY & NEBEKER

A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

et al.
April 10, 20
Invoice No.

For Legal Services Rendered Through March 12, 2007

Thomas J. Allison
Matter No.

Asset Disposition

03/01/07

03/01/07

03/02/07

03/02/07

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K Glade

D Monson

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A Jarvis

A Jarvis

A Jarvis

D Monson

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E-mail to T. Lomazow regarding HFA counsel
(O.1).

Review and respond to e-mail from J. Reed on
resolving Compass objections to loan amounts
for six loans in Compass Escrow Agreement
(0.1); forward to J. Reed prior e-mails on
resolving Compass objections to loan amounts
for six loans under Compass Escrow Agreement
(0.2).

Review correspondence from DACA to Compass

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and correspondence with client regarding same.

Review Compass offer on servicing rights of
Placer Vineyard.

Correspondence on Compass offer on servicing
rights of Placer Vineyard.

Review and respond to J. Reed e-mail on
Estoppel Certificates for verification of
balances for six loans challenged by Compass
(0.2); review Estoppel Certificates for any
verification of balances of six loans
Case 06-10725-gwz

Client No. 34585

Debtor USA Commercial Mortgage Co., et al.

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Monson

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Tingey
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challenged by Compass (0.3); phone call from
J. Reed on escrow reconciliation for six
loans challenged by Compass (0.1);

review e-mails from J. Reed on loan
reconciliations for six loans and challenged
by Compass (0.3).

Review S. Tingey e-mail on transfer of
litigation notice to Compass under the
Confirmed Plan (0.2).

Discussion with B. Koe regarding Placer
Vineyards servicing rights.

Review e-mail from A. W. Jarvis regarding
sale of servicing rights.

Send e-mail to B. Koe.

Review status of various pending cases (1.2);
revise memo to A. W. Jarvis regarding pending
litigation (0.7).

Correspondence on notice of litigation to
Compass.

Correspondence on Placer Vineyards offer.

Telephone conference with R. Charles
regarding Placer Vineyards.

Telephone conference with T. Allison
regarding Placer Vineyards, Colt.

Telephone conference with T. Lomazow and D.
M. Monson regarding Placer Vineyards offer.

Correspondence with Compass on Placer
Vineyards.

Correspondence on stipulation to delay
transfer to Placer Vineyards.

Analysis regarding stipulation to delay
transfer on Placer Vineyards.

Correspondence with committees and Compass
regarding offer on Placer Vineyards.

April 10, 2007
Client

Debtor

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03/05/07

Case 06-10725-gwz

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USA Commercial Mortgage Co., et al. April 10, 2007

A Jarvis .90 Review pleadings on Placer Vineyard proposed
sale.

A Jarvis .10 Prepare litigation notice for Compass on
effective date.

D Monson .40 Rreview Placer Vineyard Loan documents (1.2);

03/05/07

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03/06/07

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D Monson

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S Strong

A Jarvis

A Jarvis

D Monson

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draft Motion to Sell Placer Vineyard Loan
Servicing Rights to Compass and Declaration of
Tom Allison in Support (1.6); draft Stipulation
and Order to not transfer Placer Vineyard Loans
to USACM Trust, and circulate for comments
(2.0); phone call from T. Lomazow on Placer
Vineyard Loans Stipulation and Order (0.1);
conference with T. Lomazow and A. Jarvis on
Placer Vineyard Loans Servicing Rights (0.3);
review T. Lomazow e-mail on Compass offer on
Placer Vineyard Loans (0.2).

Review e-mails from A. Jarvis, T. Allison and
S. Tingey on HFA Asylum Loan issues and
Compass servicing issues (0.1).

Review Order on Dayco Motion for Relief from
Stay for Southern California 2nd Loan and
forward to Compass (0.2).

Telephone conference with R. Koe and J. Reed
regarding servicing of Placer Vineyards loans
(0.4); analysis of relevant provisions of APA,
Plan, Confirmation Order and Plan
Implementation Order regarding same (0.7).

Correspondence on Placer Vineyards motion to
sell servicing rights.

Correspondence on consents to Placer
Vineyards motion.

Multiple revisions to drafts of Placer
Vineyards Loan Motion and Declaration of Tom
Allison (1.5); phone call from T. Lomazow on
Placer Vineyards Loan Motion (0.2); e-mail to
A. Landis on Placer Vineyards Loan Motion

(0.1); review e-mails from E. Karasik, R.
Charles and A. Jarvis on Placer Vineyards Loan
Motion (0.4); revisions to Placer Vineyards

Loans Stipulation and Order, and circulate
revisions for approval (2.2); review and
Client No.
Debtor USA Commercial Mortgage Co., et al.

03/06/07

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Case 06-10725-gwz

Monson

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Page: 4
April 10, 2007

respond to e-mails from E. Karasik and T.
Lomazow on Placer Vineyards Stipulation and
Order (0.3); e-mails to L. Dorsey on schedule
for filing Placer Vineyards Stipulation and
Order (0.2).

Phone call from T. Lomazow on Loan Servicing
Agreements and Copper Sage Direct Lender
lawsuit (0.2).

Review A. Jarvis e-mail on transition of
litigation to Compass pursuant to Confirmed
Plan (0.1).

Review draft of proposed stipulation regarding
postponing transfer of Placer Vineyards
servicing (0.3).

Review pending litigation issues and
communication with committees and Compass
regarding same.

E-mails from A. jarvis and D. Monson
regarding Placer Vineyard (0.3).

Correspondence on filing of Placer Vineyards
motion.

Telephone conference with R. Koe and T.
Allison regarding Placer Vineyards, Colt
Gateway.

Correspondence on Motion for delay of
transfer of Placer Vineyards.

Correspondence and revisions to Placer
Vineyards motion.

Correspondence with Committees on revisions
to Placer Vineyards motion.

Review R. Charles and A. Landis e-mails on
Placer Vineyards Stipulation and Order (0.2);
multiple revisions to Placer Vineyards
Stipulation and Order and multiple circulations
for approvals (1.8); review e-mails on
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Debtor USA Commercial Mortgage Co., et al. April 10, 2007

approvals of Placer Vineyards Stipulation and
Order (0.3); review of Placer Vineyards Motion
on Sale of Servicing Rights and Declaration of
Tom Allison (0.2); review and respond to M.
Levinson e-mails on Placer Vineyards
Stipulation and Order (0.2).

03/07/07 D Monson 1.40 Review and respond to e-mails from E. Karasik
on conference call on discussion of six loans
for the FTDF Assets Escrow Account (0.2);
conference call with E. Karasik, D. Cica, and
A. Jarvis on discussion of six loans in the
FTDF Assets Escrow Account (0.7); review
documents relating to alleged misstatements of
loan balances for six loans in FTDF Assets
Escrow Account (0.5).

03/07/07 D Monson .10 Phone call from T. Lomazow on
Brookmere/Matteson Loan and Botaba Realty
litigation issues (0.1).

03/08/07 A Jarvis .20 Correspondence on Placer Vineyards motion.

03/08/07 A Jarvis .20 Correspondence on preparation of litigation
list for Compass on effective date.

03/08/07 D Monson 2.30 Review e-mail from A. Jarvis on Placer
Vineyards Stipulation and Order (0.2); review
e-mails on authorizations from Committee
attorneys and Compass for Placer Vineyards
Stipulation and Order (0.4); work on Placer
Vineyards Motion and Declaration of T. Allison
in Support (1.0); e-mail to L. Dorsey, S. Smith
and T. Allison on signing and filing of Placer
Vineyards Motion and Declaration in Support
(0.2); phone call to S. Smith on Placer
Vineyards Motion and Declaration of T. Allison
in Support (0.2); review and respond to e-mail
from L. Dorsey on Order Shortening Time for
Placer Vineyards Motion, and discuss with S.

Strong (0.2); review e-mail from S. Smith on
signed Declaration for Placer Vineyards Motion
(O.1).

03/08/07 D Monson .20 Request copy of final closing documents and

FTDF Asset Escrow Agreement from S. Strong
and forward to E. Karasik and D. Cica (0.2).
Client
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Case 06-10725-gwz

No. 34585

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USA Commercial Mortgage Co., et al. April 10, 2007

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Review Gramercy Loan and assignment documents
and e-mail to E. Karasik and D. Cica on FTDF
Interest in Gramercy loan (1.0).

Review Shamrock Loan and Direct Lender
assignment documents and e-mail to E. Karasik
and D. Cica on FTDF Interest in Shamrock
Towers Loan (1.0).

Review Lake Helen Loan and Direct Lender
assignment documents and e-mails to E.
Karasik and D. Cica on FTDF Interest in Lake
Helen Loan (0.6).

Review Amesbury Direct Lender assignment
documents and e-mails to E. Karasik and D.
Cica on FTDF Interest in Amesbury/Hatters
Point Loan (0.5).

Review Brookmere/Matteson Direct Lender
assignment documents and e-mail to E. Karasik
and D. Cica on FTDF Interest in
Brookmere/Matteson Loan (0.5).

Review email from A. W. Jarvis regarding status
of stipulation regarding proposed sale by USACM
of Placer Vineyard servicing assets (0.2);
review various comments and responses by
committees counsel regarding same (0.3);

emails to stipulation parties regarding final
approval needed of stipulation (0.2); telephone
conference with T. Lomazow regarding same
(0.1); review final approvals received and
forward same to local counsel with stipulation
for submission to court (0.2); telephone
conference with J. McPherson regarding same
(0.1); exchange emails with L. Dorsey regarding
same (0.1); email to A. W. Jarvis regarding
same (0.1).

Review regarding status of proposed Section 363
motion regarding USACMs proposed sale of

Placer Vineyard servicing assets (0.1); review
and edit drafts of motion and declaration
regarding same (0.5).
Client
Debtor

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Case 06-10725-gwz

No. 34585
USA Commercial Mortgage Co., et al.

S Strong

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April 10, 2007

Review regarding basis for OSC on 363 motion
regarding Placer Vineyards assets (0.1);
exchange emails with A. W. Jarvis and D. M.
Monson regarding same (0.1).

Correspondence on Placer Vineyards motion.

Review e-mails from L. Dorsey, L. Schwartzer,
A. Jarvis and S. Stone on filing of Placer
Vineyards Stipulation and Order and Placer
Vineyards Motion, and schedule for hearing on
Placer Vineyards Motion (0.4).

Review e-mails on Placer Vineyards motion and
issues related thereto.

Exchange emails with L. Schwartzer and L.
Dorsey regarding service of Placer Vineyards
stipulation on direct lenders (0.1); review
Placer Vineyards stipulation and order entered
by court, and related Section 363 sale motion
and notice of hearing (0.3); exchange emails
with J. McPherson regarding same (0.2);
telephone conference with J. McPherson
regarding Placer stipulation and related motion
and hearings and revised notice needed for same
(0.3).

Correspondence on notice of litigation to
Compass.

Telephone conference with B. Koe regarding
Colt Gateway.

Correspondence regarding Colt Gateway
negotiations.

Correspondence with T. Lomazow regarding
Placer Vineyards hearing.

Review and respond to e-mail from R. Charles
on executed copies of Compass escrow
agreements (0.2).

Phone calls from T. Lomazow on status of
Effective Date of Confirmed Plan (0.1).
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Debtor USA Commercial Mortgage Co., et al. April 10, 2007
03/12/07 D Monson .50 E-mails to E. Karasik and D. Cica on documents

for Shamrock Towers Loan, Lake Helen Loan, and
Amesbury Loan, and Escrow Agreement issues
(0.5).

03/12/07 D Monson .80 Phone calls from T. Lomazow on status of Placer
Vineyards motion and hearing schedule (0.4);
review J. McPherson e-mail on Placer Vineyards
motion and e-mail from Commercial Funding, LLC
on interest in bidding on Placer Vineyards
assets (0.2); e-mail to T. Lomazow on Placer
Vineyards Loan issues (0.2).

03/12/07 S Tingey 1.20 Review regarding litigation issues and
transition to Compass (0.6); letter to T.
Lomazow regarding pending litigation (0.6).

03/12/07 E Toscano .20 Continue making calls and emails to track
down a contact person at the title company
for the Fiesta Stoneridge title update in
connection with the IP litigation.

TOTAL FOR LEGAL SERVICES RENDERED $12,940.00

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STATEMENT OF ACCOUNT
RAY QUINNEY & NEBEKER

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SALT LAKE CITY, UTAH 84145-0385
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FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road April 10, 20
Las Vegas, NV 89121 Invoice No.

For Legal Services Rendered Through March 12, 2007
Thomas J. Allison

Matter No. 34585-00004

Business Operations

03/01/07 K Glade 1.20 Telephone call with Chicago Title counsel
regarding Fox Hills 216 (0.2), and regarding
Eagle Meadows Development (0.2); collect
information regarding Fox Hills 216 (0.4),
and Eagle Meadows Development (0.4) to
provide to Compass. ,

03/01/07 A Jarvis .30 Correspondence on Colt loan.

03/01/07 D Monson .10 Conference with S. Strong on status of Colt
Gateway Loans and Motion to Approve Payoffs
(0.1).

03/01/07 D Monson .10 Review e-mail from C. Hurst on request for
copies of appraisals from Direct Lenders
(0.1).

03/01/07 D Monson .10 Review Order on Motion to Withdraw Reference
for Standard Property Adversary Proceeding
(O.1).

03/01/07 D Monson .10 Phone call from title company (Alliance

Title) on Deed of Reconveyance for
Franklin-Stratford Loan (0.1).

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USA Commercial Mortgage Co.,

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Page: 2

et al. April 10, 2007

Review plan regarding obligations of
Purchaser for Pending Litigation (0.9); memo
to A. W. Jarvis regarding same (0.5).

Telephone conference with T. Lomazow of Weil |
regarding HFA/Asylum loan (0.3).

Correspondence with C. Scully regarding
motion to approve payoff on Colt Gateway.

Phone call to S. Bodines office on
Substitution of Trustee form, locate M. Stone
e-mail verifying that form was forwarded to
S. Bodine, and e-mail to S. Bodine
(Franklin/Stratford Loan) (0.3).

E-mail to A. Jarvis and S. Strong on Colt
Gateway motion and status, review A. Jarvis
response, and. further e-mail to A. Jarvis on
Colt Gateway and Diversified issues (0.6);
review e-mail from A. Jarvis on additional
Colt Gateway motion issues (0.2).

Prepare background e-mail with attachments
for Compass regarding Fox Hills 216 (0.9),
and Eagle Meadows Development (0.9). ,

Prepare background e-mail with attachments
for Compass regarding Brookmere Loan (1.2).

Telephone calls:'to C. Scully regarding Colt
payoff.

Correspondence on Huntsville loan.

Review e-mail from A. Jarvis to C. Scully on
Colt Gateway motion (O.1).

Telephone conference with lawyer M. Taylor
regarding his questions concerning timing of
Plan Effective Date (0.3).

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Debtor USA Commercial Mortgage Co., et al. April 10, 2007

03/05/07 S Strong

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K Glade

A Jarvis
D Monson

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.90 Review email from R. Charles regarding

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threatened foreclosure by WULA successor,
Cross Development, regarding Huntsville loan
(0.1); confer with S. C. Tingey regarding
same (0.2); email to R. Charles regarding
same (0.1); review proposed letter from S. C.
Tingey to Cross Development regarding same
(0.2); further discussions with S. C. Tingey
regarding same (0.2); exchange emails with M.
Levinson regarding same (0.1).

Review correspondence regarding Botaba
litigation (Brookmere) loan (0.3); telephone
conference with T. Lomazow (0.1).

Further revisions and correspondence
regarding payoff letter on.Colt Gateway.

Review A. Jarvis e-mail and revised letter on
Colt Gateway Loans payoff (0.2).

E-mail from L. Schwartzer regarding Brookmere
lien litigation and correspondence that he
sent (0.2).

Correspondence with J. Bart regarding Colt
Gateway negotiations.

Review J. Herman and A. Jarvis e-mails on
revisions to Colt Gateway loans payoff letter
(0.2); analysis of filing Supplement to Colt
Gateway Motion for Colt Gateway Loans payoff
letter (0.1).

Telephone call with T. Lomazow regarding
Brookmere lien litigation (0.3); e-mail to T.
Lomazow regarding correspondence with Stewart
Title regarding Brookmere lien litigation
(0.3); e-mail from T. Lomazow to Stewart
Title (0.2).

E-mail regarding status of Gateway Stone
(0.2).

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Debtor

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TOTAL FOR LEGAL SERVICES RENDERED

No. 34585

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USA Commercial Mortgage Co., et al. April 10, 2007

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K Glade

K Glade

S Strong

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Telephone conference with T. Homes regarding
alleged forgery (.5); review documents
regarding same (1.2); correspondence with Team
regarding how to handle (.5); draft response
(.6); analysis regarding meeting with Diamond
in Las Vegas (.3); make travel plans (.5)-

Review email from S. Smith USACM collection
account (0.1); research Nevada statutes and
regulations regarding same (0.7); exchange
emails with §. Smith and A. W. Jarvis
regarding same (0.1).

Exchange emails with M. W. Pugsley and A. W.
Jarvis regarding alleged forgery of LSA
signature (0.2); telephone conference with M.
W. Pugsley regarding same (0.1).

E-mail to S. Strong regarding Hasley Canyon
letter agreement«with related research (0.4);
e-mail to S. Strong regarding Hasley Canyon
payoff statement (0.2).

Review litigation report generated by S. Tingey
(0.7).

Review request by R. Charles for information
regarding Hasley Canyon loan payoff and
exchange emails with K. G. Glade regarding same
(0.2); forward information to R. Charles
regarding same (0.1).

$5,440.00

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STATEMENT OF ACCOUNT
RAY QUINNEY & NEBEKER

A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
- POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road
Las Vegas, NV 89121

April 10,

For Legal Services Rendered Through March 12, 2007
Thomas J. Allison

Matter No.

Invoice No.

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2007
360301

34585-00005
Claims Administration and Objections

03/01/07 S Cummings 1.00 Preparation of Objection to Schedule E.

03/01/07 S Cummings 1.90 Preparation of objection to Schedule F.

03/01/07 S Cummings 1.50 Review and revision of exhibits for objection
to Schedule F.

03/01/07 S Cummings .50 Discussion with E. Wooley regarding exhibits
for objection to Schedule F.

03/01/07 S Cummings .30 Discussion with J. Miller regarding Schedule F
objection.

03/01/07 S Cummings .50 Analyze Schedule E objection issues.

03/01/07 S Cummings -80 Review of possible claim objection forms.

03/01/07 S Cummings .30 Correspondence with S. Smith regarding
accuracy of revised unremitted principal
amounts .

03/01/07 S Cummings .40 Analysis of effect of scheduled claims issues.

03/01/07 P Hunt .20 Analysis regarding claim procedure issues (.2).

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Client No. 34585
Debtor

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USA Commercial Mortgage Co., et al.

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April 10, 2007

Phone call with J. Miller at BMC regarding
noticing. issues and deadlines for claim
objections (.2); analysis regarding schedule
amendments/objections (.2); phone call with d.
Miller regarding objections (.6); follow-up on
Exhibit A issues (.2); analysis of due process
concerns (.8).

Review emails from L. Schwartzer, S. Freeman
and R.:Charles regarding claims objections
deadlines in relation to Effective Date and
review related Plan provisions (.3).

Work on omnibus objections to secured, priority
and misfiled claims (0.4); exchange emails with
A. Hosey regarding courts views on omnibus
objections and related notices, and possible
new objections needed to prior scheduled
amounts for Unremitted Principal (0.4);
telephone conference with P. Hunt regarding
courts further instructions and hearing today
regarding ommibus objection procedures (0.2);
telephone conference with A. Hosey regarding
same (0.2); work on objections (0.2).

Review and finalize objections to PBGC claims
and transmit same to local counsel for filing

(.6).

Revise claim objection form and work on Excel
document formatting to individualize exhibits.

Continued preparation of Schedule E objection.

Continued preparation of Schedule F
objection.

Analysis regarding claim objection issues.

Correspondence with J. Miller regarding
exhibit for objection to Schedule F.

Correspondence with local counsel regarding
objection to Schedule F.

Objection analysis regarding investors owed
unremitted principal.

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Debtor

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No. 34585

USA Commercial Mortgage Co.,

A Jarvis

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S Strong

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et al. April 10, 2007

conference with S. C. Strong
claims objections, scheduled claims.

Telephone
regarding

Conference call with client, UCC and USACM
Trustee regarding claims objections.

Analysis regarding claims objections, amendment
to schedule.

Analysis regarding amendments to schedules.

Telephone conference with A. Hosey of local
counsels office regarding courts preferences
and issues, and local practices concerning,
omnibus objections and schedule amendments
(0.8); analyze Plan, Confirmation Order, and
Plan implementation motion regarding claims
objection issues in relation to Effective Date
(0.8); telephone conference with R. Charles
and S. Smith regarding same (0.3); further
discussions with A. Hosey regarding omnibus
objection procedures and amendments to USACM
schedules (0.2).

Analysis regarding schedule
objections/amendments issues concerning
Unremitted Principal claims, broker claims, and
other scheduled claims (0.5); telephone
conference with S. Smith regarding same (0.3);
telephone conference with J. Miller of BMC
regarding same (0.2); analyze issues concerning
USACM schedule amendments needed (0.5);
participate in conference call with R. Charles,
S. Freeman, G. Berman and S. Smith regarding
same (0.3); review of prior Schedules F, F-1
and E filed by USACM (0.4).

Work on formatting Excel spreadsheets of claims
for objection exhibits.

Continued preparation of claim objections.

Continued preparation of exhibits for claim
objections.

Analysis of lease rejection claims.

(.2).

Work on claims objection issues

Client

Debtor

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No.
USA Commercial Mortgage Co.,

34585

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et al. April 10, 2007

Preparing smaller omnibus objections to secured
claims (.2).

Review stipulation regarding Standard
Property withdrawal of claim (.1).

Review list from Mesirow of possible
rejection damage claims (0. 2); review Plan
and related documents and issues concerning
rejection damage claims, deadlines for. filing
same, and deadlines for objecting to same
(0.4); emails to Mesirow and S. A. Cummings
regarding same (0.2); exchange emails with R.
Charles regarding same (0.2).

Work on exhibits to multiple claim objections.

Further work on formatting and preparation of
multiple exhibits for claim objections to
alleged secured claims.

Correspondence with A. Parlen regarding
declaration for FTDF objections.

Preparation of declarations for FTDF
objections.

Review of FTDF claim objections.

Preparation of declaration in support of FIDF
claim objections.

Correspondence with S. Smith regarding
declaration for FTDF claim objections.

Review of IRS claim objection.

Review and revise USACM objection to IRS claims
(0.9); exchange emails with S. Smith regarding
same and make final edit to same (0.2);
circulate draft of same to R. Charles and 8S.
Freeman for review (0.1); review and revise
draft objection to IRS claims based on comments
of S. Freeman (0.2); email to local counsel
regarding filing of same (0.1).

Continue work on preparation of Exhibits to
secured claim objections.

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April 10, 2007

Client No. 34585
Debtor USA Commercial Mortgage Co., et al.

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TOTAL FOR LEGAL SERVICES RENDERED

Cummings
Cummings
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Cummings
Cummings

Hurst

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Correspondence with L. Dorsey regarding claim
objections.

Review and revision of declaration in support
of FTDF claim objections.

Correspondence regarding revised declaration
for FIDF claim objections.

Review o£ final declaration for FTDF claim
objections.

Correspondence with local counsel regarding
declaration for FTDF claim declarations.

Correspondence with A. Parlen regarding
declaration for FTDF claim objections

Complete breakout of groups of claimants for
further preparation of objections to claims
asserting secured status.

Correspondence on claims on investor
regarding forgery.

Review and analysis of issues concerning
priority and secured claims against USACM,
objections filed or to be filed thereto, and
process for resolving objections (0.6);
review plan implementation motion and order
regarding same (0.3).

Review motion to extend deadline for

objecting to rejection damage claims and
related issues (.2).

$9,541.00

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STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER
A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road
Las Vegas, NV 89121

For Legal Services Rendered Through March 12, 2007
Thomas J. Allison:
Matter No. 34585-00007

Fee / Employment Applications

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April 10, 2007
Invoice No. 360302

03/01/07
03/05/07

03/05/07

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03/06/07

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Allocation of fees among estates.
Correspondence on fee application order.

Draft Third Stipulation and Order amending
time periods to file final and interim fee
applications (.8); review and respond to
drafts circulated by committee counsel (.3).

Work on next fee application with corresponding
monthly statement (2.2).

Review new proposed stipulation from FTDF
Committee regarding interim compensation and
fee application procedures (0.3); review emails
from UST and committees counsel regarding same
(0.1).

Correspondence with B. J. Kotter regarding
preparation of fee statements.

Review final stipulation regarding fee
applications.

Work on monthly statement and final fee.
application issues (2.8).

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Client No. 34585 Page: 2

Debtor USA Commercial Mortgage Co., et al. April 10, 2007
03/06/07 S Strong .40 Review emails from committees counsel and

UST regarding stipulation concerning final
fee applications (0.2); emails to local
counsel regarding approvals for filing same.

(0.2).
03/07/07 B Kotter .40 Work on monthly application (.8).
03/09/07 B Kotter 1.20 Respond to e-mail inquiry regarding January and

February monthly statements (.6); follow-up on
e-mail correspondence regarding same (.6).

03/10/07 B Kotter .20 Receive, review and respond to e-mail inquiry
from Rob Charles regarding service of monthly
statements.

03/12/07 B Kotter 4.60 Preparation of January 2007 monthly

application (7.8); respond to e-mail from 8.
Smith regarding payments to professionals
(.2); work on final fee application
preparations (.4).

TOTAL FOR LEGAL SERVICES RENDERED §2,516.00

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STATEMENT OF ACCOUNT
RAY QUINNEY & NEBEKER

A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road April 10, 2007
Las Vegas, NV 89121 Invoice No. 360303

For Legal Services Rendered Through March 12, 2007
Thomas J. Allison -
Matter No. 34585-00008

Fee / Employment Objections

03/01/07 B Kotter 2.70 Draft objection to Robert LePome’s Fee
Application.
03/02/07 S Strong" 1.30 Review and revise draft of debtors objection

to LePome substantial contribution fee
application (1.2); email to local counsel
regarding filing same (0.1).

03/08/07 S Strong .10 Review R. LePome reply in support of his fee
application (1).

TOTAL FOR LEGAL SERVICES RENDERED $952.50

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STATEMENT OF ACCOUNT
RAY QUINNEY & NEBEKER

A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
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SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801)'532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road April 10, 2007

Las Vegas, NV 89121 Invoice No. 360304

For Legal Services Rendered Through March 12, 2007
Thomas J. Allison

Matter No. 34585-00011

‘Litigation
03/01/07 A Jarvis 5.50 Appear at hearings and argue opposition to
motion to stay, 1142 motion, Colt motion.
03/01/07 E Monson .20 Call S. Coldrobel regarding interview with A.
Stevens.
03/01/07 A Tsu 2.90 Reviewing documents for privilege.
03/02/07 A Jarvis .20 Correspondence on cooperation agreement with
A. Stevens.
03/02/07 A Jarvis .20 Draft correspondence to R. Walker regarding
requested examination of T. Allison.
03/02/07 B Monson .30 Discussion with S. Goldsobel regarding
interview and e-mail A. W. Jarvis regarding
same.
03/02/07 E Monson .20 E-mail A. W. Jarvis regarding interview on
Thursday and review reply.
03/02/07 E Monson .60 Review documents from Hantges ex-wife.
03/02/07 C Hurst 1.90 Continue bates labeling Del Bunch documents;

facilitate copying and transmit to Schwartzer
& McPherson.

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Debtor USA Commercial Mortgage Co., et al. April 10, 2007

03/05/07 A Jarvis .10 Correspondence with L. Weese regarding
interview with Diamond McCarthy.

03/05/07 E Monson .10 Analyze responses to D. Bunch document
requests.

03/05/07 E Monson .10 Review e-mail from A. Hosey regarding
question on Bunch document production and
send reply.

03/05/07 E Monson  —_~—_—«- 30 Review responses from Bunch’s attorney to

document requests and e-mail from L.
Schwartzer and send reply.

03/05/07 E Monson 20 Review e-mail from L. Schwartzer and proposed
, letter.
03/05/07 EH Monson .40 Review documents from T. Hantges’ ex-wife and

send to BE. Madden.

03/05/07 E Monson .20 Review e-mail from E. Madden regarding
Hantges documents and employee list and send
reply.

03/05/07 E Monson .40 Conference call with M. Stone, H. Stone, M.

Yoder and E. Molden.

03/05/07 E Monson .50 Review regarding privilege issues and send
e-mail to E. Madden.

03/05/07 BE Monson .20 Review e-mail from E. Madden regarding

interview with A. Sperry and forward to A. W.
Jarvis.

03/05/07 E Monson .20 Analyze privilege issues after effective date
and send e-mail to E. Madden.

03/06/07 A Jarvis .40 Correspondence on privilege issues.

03/06/07 A Jarvis .40 Further correspondence with Trust on

privilege issues.

03/06/07 A Jarvis .20 Correspondence regarding preparation for
upcoming hearings.

03/06/07 EB Monson .20 Review e-mail from S. Freeman regarding Bunch

document production and send e-mail to L.
Schwartzer regarding same.

Client
Debtor

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USA Commercial Mortgage Co.,

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et al. April 10, 2007

Discussion with S. Freeman regarding Bunch
document production.

Review numerous e-mails regarding privilege

' concerns during transition period and analysis

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regarding same.

Review 2004 exam notices of Wells Fargo,
Piercy Bouker and DeLoitte.

Reviewing documents for privilege.
Reviewing documents for privilege.

Office conference with E. A. Monson regarding
further HMA documents to be bates labeled and
produced; prepare bates labels; discuss with
contract paralegal; prepare letter
transmitting documents to D. Gerrard;
facilitate federal express delivery.

Analysis of issues related to interview with M.
Stone.

Interviews with Diamond McCarthy, M. Stone
and L. Weese and meeting with USACM Trust
attorneys regarding litigation matters.
Reviewing documents for privilege.

Review correspondence regarding BMC employment
application for motion to allocate BMC fees to
DTDF, FTDF, CRA and Securities.

Correspondence with M. Pugsley regarding
meeting with Diamond McCarthy.

Correspondence on Gateway Stone payoff.

Review e-mail from L. Schwartzer regarding D.
Bunch requests and send reply.

Discussion with L. Schwartzer regarding
responses to requests.

Review voice message from M. Pugsley
regarding document issues.

Client
Debtor

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TOTAL FOR LEGAL SERVICES RENDERED

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No. 34585

Page: 4

USA Commercial Mortgage Co., et al. April 10, 2007

A Tsu

A Tsu

A Tsu

B Monson

S Strong

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Reviewing factual background information
regarding BMC application to employ BMC as

-Debtors claims agent in preparation for

drafting motion for an order allocating pro
rata payment schedule for DIDF, FTDF, CRA and
Securities (2.0).

Reviewing emails, BMC bills and monthly
Operating Reports from April 2006-January 2007
to determine whether BMC fees had been itemized
in monthly operating reports (3.2); begin
drafting outline for same (1.9).

Legal research regarding equity of allocation
given agreements that are silent as to same
in preparation for drafting motion for an
order allocating pro rata payment schedule
for DIDF, FIDF, CRA and Securities (1.7).

Draft emails to A. Tsu and M. Pugsley

' regarding follow up on D. Bunch request for

production of documents and review replies
and send further replies.

Review regarding proposed letter to Compass
regarding transition of "Pending Litigation"
(0.5); further review and analysis of various
pending litigation matters and relevant
provisions of Plan and APA regarding same
(0.6); revise and edit proposed letter to
Compass regarding same (0.6).

Reviewing responses to First Request for
Production of Documents Served by Del and
Ernestine Bunch Upon USACM (.3); reviewing
discovery requests and meet and confer letter
(.5); begin reviewing electronic documents for
documents that Bunch letter deemed insufficient
(1.9).

$11,254.00

